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 Information to identify the case:

 Debtor 1:
                       SCOTT A. CORRIDAN                                                Social Security number or ITIN:    xxx−xx−9462
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        District of Nevada                               Date case filed for chapter:         11      7/12/22

            22−50366−nmc
 Case number:

Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            SCOTT A. CORRIDAN

 2. All other names used in the aka SCOTT ALAN CORRIDAN, dba SCOTT
    last 8 years                CORRIDAN DESIGN

 3. Address                                       120 COUNTRY CLUB DRIVE, SUITE 7
                                                  INCLINE VILLAGE, NV 89451

 4. Debtor's attorney                             KEVIN A. DARBY
       Name and address                           Darby Law Practice, Ltd                                  Contact phone: 775−322−1237
                                                  499 W. Plumb Lane
                                                  Suite 202                                                Email: kevin@darbylawpractice.com
                                                  Reno, NV 89509

 5. Bankruptcy trustee                            CHAPTER 11 − RN                                          Contact phone: To be assigned
       Name and address                           300 BOOTH STREET, STE 3009                               Email: USTPRegion17.RE.ECF@usdoj.gov
                                                  RENO, NV 89509

 6. Bankruptcy clerk's office                                                                               Office Hours: 9:00 AM − 4:00 PM
       Documents in this case may be filed
       at this address.                           300 Booth Street                                          Contact phone: (775) 326−2100
       You may inspect all records filed in       Reno, NV 89509
       this case at this office or online at
       https://pacer.uscourts.gov.                                                                          Date: 7/12/22
                                                                                                           For more information, see page 2 >




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Debtor SCOTT A. CORRIDAN                                                                                                   Case number 22−50366−nmc

 7. Meeting of creditors                                                                                      Location:
     Debtors must attend the meeting to     August 15, 2022 at 02:00 PM                                       Call−in Number: 877−919−3258,
     be questioned under oath. In a joint                                                                     Passcode: 4009286
     case, both spouses must attend.        The meeting may be continued or adjourned to a later
     Creditors may attend, but are not      date. If so, the date will be on the court docket.
     required to do so.

 8. Deadlines                               File by the deadline to object to discharge or First date set for hearing on confirmation of
     The bankruptcy clerk's office must     to challenge whether certain debts are         plan. The court will send you a notice of that
     receive these documents and any                                                       date later.
     required filing fee by the following   dischargeable:
     deadlines.
                                            You must file a complaint:                                      Filing deadline for dischargeability
                                            • if you assert that the debtor is not entitled to              complaints: 10/14/22
                                              receive a discharge of any debts under
                                              11 U.S.C. § 1141(d)(3) or
                                            • if you want to have a debt excepted from discharge
                                              under 11 U.S.C § 523(a)(2), (4), or (6).


                                            Deadline for filing proof of claim:                           9/20/22 For a governmental unit: 1/8/23
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                            must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                            You may file a proof of claim even if your claim is scheduled.
                                            You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                            of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                               Filing Deadline:
                                            The law permits debtors to keep certain property as             30 days after the conclusion of the meeting of
                                            exempt. If you believe that the law does not authorize an       creditors
                                            exemption claimed, you may file an objection.

                                            If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtors
                                            personally except as provided in the plan. If you believe that a particular debt owed to you should be
                                            excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the
 11. Discharge of debts                     filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                            discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee
                                            in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will send you
                                            another notice telling you of that date.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 12. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                            you believe that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                            The bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 8.




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